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E FILED ON 10/01/2020

THOMAS E. CROWE, ESQ.

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(702) 794-0373

Attorney for Debtor
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA
KK KR RF
In re: ) BANKRUPTCY NUMBER:
) BK-S-20-12890-MKN
PLAYERS NETWORK, ) Chapter 11
)
Debtor. )
)

 

NOTICE OF APPEAL AND STATEMENT OF ELECTION RE: ORDER (1)GRANTING
RELIEF FROM THE AUTOMATIC STAY; (2) AUTHORIZING ISSUANCE OF
CONVERSION NOTICES BY CREDITOR AUCTUS FUND, LLC.; (3) REQUIRING
DEBTOR AND ITS TRANSFER AGENT TO COMPLY WITH CONVERSION NOTICES:
AND (4) REQUIRING DEBTOR AND ITS TRANSFER AGENT TO CREATE A SHARE
RESERVE SUFFICIENT TO ENSURE PROMPT COMPLIANCE WITH FUTURE
CONVERSION NOTICES

Part 1: Identify the Appellant
1. Name of appellant: Players Network,

2. Position of appellant in adversary proceeding or bankruptcy case that is the subject of
this appeal:

For appeals in an adversary proceeding.

Plaintiff
Defendant
Other

For appeals in a bankruptcy case and not in an adversary proceeding.
XXX Debtor

Creditor
Trustee

 
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Other
Part 2: Identify the subject of this appeal
1. Describe the judgment, order or decree appealed from:

Order (1)Granting Relief From the Automatic Stay; (2) Authorizing Issuance of
Conversion Notices By Creditor Auctus Fund, LLC,;(3) Requiring Debtor and its
transfer agent to comply with conversion notices; And (4) Requiring Debtor and its
transfer agent to create a share reserve sufficient to ensure prompt compliance with
future conversion notices.

See attached copy as Exhibit “1”.
2. State the date on which the judgment, order, or decree was entered:

September 17, 2020

Part 3: Identify the other parties to the appeal
Ryan J. Works, Esq., Attorney for Auctus Fund, LLC
Part 4: Optional election to have appeal heard by District Court

Debtor elects to have this appeal heard by the U.S. District Court for the District of Nevada.

Part 5: Sien and Date

THOMAS E. CROWE PROFESSIONAL
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's/ THOMAS E. CROWE, ESO, Date:__ October 1, 2020
THOMAS E. CROWE, ESQ.

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Attorney for Debtor

 

 
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Exhibit 1

 
McDONALD Mh CARANO

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Honorable Mike K. Nakagawa
United States Bankruptcy Judge

 

Entered on Docket

september 17, 2020

 

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Attorneys for Auctus Fund, LLC
UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF NEVADA

In re: Case No.: 20-12890-mkn
PLAYERS NETWORK, Chapter 11

ORDER (1) GRANTING RELIEF FROM
Debtor. THE AUTOMATIC STAY; (2)
AUTHORIZING ISSUANCE OF
CONVERSION NOTICES BY CREDITOR
AUCTUS FUND, LLC,; (3) REQUIRING
DEBTOR AND ITS TRANSFER AGENT TO
COMPLY WITH CONVERSION NOTICES;
AND (4) REQUIRING DEBTOR AND ITS
TRANSFER AGENT TO CREATE A SHARE
RESERVE SUFFICIENT TO ENSURE
PROMPT COMPLIANCE WITH FUTURE
CONVERSION NOTICES

Hearing Date: September 9, 2020
Hearing Time: 9:30 a.m.

 

 

Upon the Motion of Creditor Auctus Fund, LLC for an Order, Pursuant to 17 U.S.C.
$$105(a), 363, and 541 (1) Authorizing Issuance of Conversion Notices; (I) Requiring Debtor to

 

 
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Comply with the Notices; and (II) Deeming the Automatic Stay Inapplicable or, in the Alternative,
Granting Relief from the Automatic Stay Pursuant To I] U.S.C. § 362 [ECF No. 61] (the
“Motion”) in the above-captioned chapter 11 case for entry of an order authorizing the Creditor,
Auctus Fund, LLC (“Auctus”), to issue periodic conversion notices, upon the timing and in the
amounts determined by Auctus (the “Conversion Notices”), pursuant to which the Debtor, by and
through its authorized transfer agent, or any successor thereto, (hereinafter the “Transfer Agent’),
would deliver to Auctus certain shares of the Debtor’s freely tradeable common stock (hereinafter
the “Shares”) in accordance with the terms and conditions of the two Convertible Promissory
Notes Auctus holds from the Debtor and the associated Securities Purchase Agreements
(collectively the “Transaction Documents”), and (IJ) requiring the Company to establish and
allocate a sufficient “reserve” of the Shares, as held by the Transfer Agent on behalf of the Debtor,
and to comply with such conversion notices of the Fund, pursuant to sections 105(a)}, 363, and
541 of title 11 of the United States Code; and the Court having jurisdiction to consider the Motion
and the relief requested therein pursuant to 28 U.S.C. §§ 1334 and 157; and it appearing that the
Motion is a core matter pursuant to 28 U.S.C. § 157(b)(2) and that the Court can enter a final order
consistent with Article IIT of the United States Constitution; and venue being proper in this Court
pursuant to sections 1408 and 1409 of title 28 of the United States Code; and the Court being
satisfied that notice of this Motion and the opportunity for a hearing on this Motion was
appropriate under the particular circumstances and no further or other notice need by given; and
this Court having determined that the legal and factual bases set forth in the Motion, Auctus’s
Reply Memorandum in support of its Motion, and at the hearing establish just cause for the relief
granted herein; the Court having stated its findings of fact and conclusions of law on the record at
the hearmg, which are incorporated herein by reference in accordance with Fed. R. Civ. P. 52,
made applicable pursuant to Fed. R. Bankr. P. 7052 and 9014; and after due deliberation and
sufficient cause appearing therefor,
It is hereby ORDERED, that:
1. The Motion is GRANTED.

 

 
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2. Pursuant to section 362(d){1) of the Bankruptcy Code, Auctus has demonstrated
cause for relief from the automatic stay otherwise applicable pursuant to section 362(a) of the
Bankruptcy Code.

3. Pursuant to section 362(d)(2) of the Bankruptcy Code, Auctus has demonstrated
that relief from the automatic stay is appropriate because the Debtor does not have equity in the
common stock shares as to which Auctus seeks issuance, and the Debtor has not shown that such
property is necessary to an effective reorganization.

4, Auctus is authorized to issue periodic Conversion Notices, upon the timing and in
the amounts determined by Auctus, in accordance with the terms and conditions of its Transaction
Documents with the Debtor and as established by the record.

5. Upon delivery by Auctus of each Conversion Notice, the Debtor and its Transfer
Agent, as authorized agent of the Debtor, are hereby ordered to deliver promptly, and in not more
than in one (1) business day from the receipt of the Conversion Notice, to Auctus the Shares in
accordance with the terms and conditions of the Transaction Documents with the Debtor and as
established by the record.

6. The Debtor shall establish and allocate a sufficient reserve of the Shares, as held
by the Transfer Agent as authorized agent of the Debtor, to ensure prompt compliance with all
Conversion Notices issued by Auctus, in accordance with its Transaction Documents with the
Debtor and as established by the record.

7, Auctus is authorized to take all actions it deems necessary and appropriate to
effectuate the relief granted pursuant to this Order in accordance with the Motion,

8. The terms and conditions of this Order shall be immediately effective and
enforceable upon its entry.

9, During the course of these bankruptcy cases, this Court has and shall retain
jurisdiction with respect to all matters arising from or relating to the interpretation or
implementation of this Order.

IT IS SO ORDERED.

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In accordance with LR 9021, counsel submitting this ORDER (1) GRANTING RELIEF
FROM THE AUTOMATIC STAY; (2) AUTHORIZING ISSUANCE OF CONVERSION
NOTICES BY CREDIFOR AUCTUS FUND, LLC,; (3) REQUIRING DEBTOR AND ITS
TRANSFER AGENT TO COMPLY WITH CONVERSION NOTICES; AND (4)
REQUIRING DEBTOR AND ITS TRANSFER AGENT TO CREATE A SHARE
RESERVE SUFFICIENT TO ENSURE PROMPT COMPLIANCE WITH FUTURE
CONVERSION NOTICES certifies that the order accurately reflects the court’s ruling and that
(check one):

O The Court has waived the requirement set forth in LR 9021(b){1).
O No party appeared at the hearing or filed an objection to the motion.

T have delivered a copy of this proposed order to all counsel who appeared at the
hearing, and any unrepresented parties who appeared at the hearing, and each has approved or
disapproved the order, or failed to respond, as indicated below [list each party and whether the
party has approved, disapproved, or failed to respond to the document].

THOMAS E. CROWE, ESQ. — APPROVED/ DISAPPROVED/FAILED TO RESPOND

CO J certify that this is a case under Chapter 7 or 13, that | have served a copy of this
order with the motion pursuant to LR 9014(g), and that no party has objected to the form or content
of the order,

Respectfully Submitted by:
McDONALD CARANO LLP

By: 4s/ Ryan J, Works

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Counsel for the Debtor

 

 
